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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                   Case Number: 20-20640-CIV-MARTINEZ-OTAZO-REYES

  MELISSA COMPERE,
       Plaintiff,

  vs.

  NUSRET MIAMI, LLC d/b/a
  NUSR-ET STEAKHOUSE,
        Defendant.
  _____________________________________/

                          ORDER ON MEDIATOR’S REPORT AND
                        DENYING ALL PENDING MOTIONS AS MOOT
         THIS CAUSE came before the Court upon the Mediator’s Report, [ECF No. 58], indicating
  that the parties have reached a settlement in this matter. It is hereby
         ORDERED AND ADJUDGED as follows:
         1.      The parties shall file either a Notice of Dismissal (if the Defendant has not served
  an answer or motion for summary judgment) or a Stipulation of Dismissal (signed by all parties
  who have appeared in this action), which must be filed with the Clerk of the Court; a proposed
  Order of Dismissal or Final Judgment; and any other documents necessary to conclude this action
  on or before 30 days of the date of this Order.
         2.      If the parties fail to comply with this Order, the Court shall dismiss this case without
  prejudice without any further warning.
         3.      The Clerk is DIRECTED to DENY ALL PENDING MOTIONS AS MOOT.
         4.      The Clerk shall ADMINISTRATIVELY CLOSE this case for statistical purposes
  only. This shall not affect the substantive rights of the parties.
         DONE AND ORDERED in Chambers at Miami, Florida, this 25th day of May, 2021.


                                                         ____________________________________
                                                         JOSE E. MARTINEZ
                                                         UNITED STATES DISTRICT JUDGE
  Copies provided to:
  Magistrate Judge Otazo-Reyes
  All Counsel of Record
